This is an appeal by W.M. Graham and United States Fidelity Guaranty Company, a corporation, from a judgment rendered in the district court of Tulsa county in favor of J.C. Perry.
The cause was set for hearing and submission on April 18, 1922. No appearance has been made on behalf of W.M. Graham and United States Fidelity  Guaranty Company, a corporation, plaintiffs in error, nor brief filed as required by rule No. 7 of this court (47 Okla. vi.).
In this situation, the court will assume that the appeal has been abandoned. It is, therefore, ordered that the appeal be, and the same is, dismissed.
HARRISON, C. J., and JOHNSON, MILLER, and NICHOLSON, JJ., concur.